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                                                                                          MAY 19 2025
 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF KANSA~ Cle!(c,~ .s. District Court
                                                             By, t,w. _             Depu~Cltrk
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ---
 Daniil Solovev,
 Plaintiff,

 V.


 Crafted By Joanna LLC, a Kansas limited liability company,
 Agneta Rusyte , an individual residing in the United Kingdom,
 Aleksandra Kinshina, an individual residing in Canada,

 Defendants.

 Case No. : (To be assigned) 2 :25- CV-        2 Z<,,~ - KHV- Al>f't\

 COMPLAINT FOR COPYRIGHT INFRINGEMENT



 Plaintiff, Daniil Solovev ("Plaintiff"), alleges as follows:

      1. Plaintiff is an individual residing at Plagoo Holiday Hotel, Bali , Indonesia, 80361.
      2. Defendant Crafted By Joanna LLC is, upon information and belief, a limited liability
          company organized under the laws of Kansas, operating an online jewelry store
          under the name "Crafted By Joanna" on Etsy.com .
      3. Defendant Agneta Rusyte is, upon information and belief, an individual residing at
          Flat 206 Watkins House 3 Thomas Layton Way, Brentford, United Kingdom, TW8
          0SJ, operating an online jewelry store on Etsy.com .
      4. Defendant Aleksandra Kinshina is, upon information and belief, an individual residing
          at 27 Quaker Ridge Rd, Concord , Ontario, Canada, L4K 2E5, operating an online
          jewelry store on Etsy.com.
      5. Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331 (federal question)
          and 28 U.S.C. § 1338(a) (copyright).
      6. Venue is proper under 28 U.S.C. § 1391 (b) because a substantial part of the events
          giving rise to the claims occurred within this judicial district.
      7. Plaintiff is the sole owner of original jewelry designs, which are protectable under
          U.S. copyright law.
      8. Plaintiff has offered these designs for sale through online platforms, including
          Etsy.com .
      9. Without permission, Defendants copied, displayed , and sold works substantially
          similar to Plaintiffs copyrighted jewelry designs on Etsy.com .
      10. Defendants' conduct was willful and intentional.
      11. Plaintiff has suffered economic harm, including loss of revenue, loss of goodwill, and
          damage to reputation.
      12. Plaintiff has no adequate remedy at law and seeks injunctive and monetary relief.
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 CLAIMS FOR RELIEF

 Count I: Copyright Infringement (17 U.S.C. § 501)

    13. Plaintiff realleges and incorporates by reference the preceding paragraphs.
    14. Defendants infringed Plaintiff's exclusive rights under 17 U.S.C. § 106.
    15. Defendants' actions were knowing, deliberate, and malicious.



 PRAYER FOR RELIEF

 WHEREFORE, Plaintiff respectfully requests that this Court:

 A. Enter judgment against Defendant Crafted By Joanna LLC for copyright infringement and
 award Plaintiff actual damages and/or statutory damages in an amount to be proven at trial,
 but not less than $10,000;

 B. Enter judgment against Defendant Agneta Rusyte for copyright infringement and award
 Plaintiff actual damages and/or statutory damages in an amount to be proven at trial, but not
 less than $10,000;

 C. Enter judgment against Defendant Aleksand ra Kinshina for copyright infringement and
 award Plaintiff actual damages and/or statutory damages in an amount to be proven at trial,
 but not less than $10,000;

 D. Award Plaintiff costs and reasonable attorney's fees;

 E. Enter a permanent injunction enjoining Defendants from further infringement;

 F. Grant such other and further rel ief as the Court deems just and proper.




 Respectfully submitted,

 Daniil Solovev
 Plagoo Holiday Hotel
 Bali , Indonesia, 80361
 Phone: +62 821 4587 7253
 Email : daniil@it-is-dew.com

 Date: May 15, 2025
